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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR151
                                              )
               Plaintiff,                     )
                                              )
               vs.                            )                    ORDER
                                              )
OSCAR COLMENARES-GONZALEZ,                    )
and COLMENARES RODRIGUEZ INC.,                )
                                              )
               Defendants.                    )

         This matter is before the Court on the government’s motion for release of material

witnesses (Filing No. 126).

         IT IS ORDERED that the government’s motion for release of material witnesses

(Filing No. 126) is held in abeyance pending the acceptance of the plea by the undersigned

judge.

         DATED this 3rd of June, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
